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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

 In Re:                                         :   Chapter 7
                                                :
 Bayou Steel BD Holdings, L.L.C.,               :   Case No.: 19−12153−KBO
                                                :
                   Debtor.                      :
                                                :
 George L. Miller, in his capacity as Chapter   :
 7 Trustee of Bayou Steel BD Holdings,          :   MEDIATION STATUS REPORT
 LLC, et. al.                                   :
                                                :
                   Plaintiff,                   :
 v.                                             :   Adv. Proc. No.: 21−50207−KBO
                                                :
 Delta Fabrication & Machine, Inc.,             :
                                                :
                 Defendant.

        In accordance with this Court's Order Assigning Adversary Proceeding to Mediation, the
undersigned mediator reports that the mediation has not been completed and hereby provides a
projected schedule for completion.

          X           Mediation is scheduled to occur on 6/27/2022.

                      A mediation session needs to be scheduled, but the mediator has been
                      unable to arrange a date and time.

                      OTHER:


Dated: May 16, 2022                         Mediator

                                              /s/ Ian Connor Bifferato
                                            Ian Connor Bifferato (DE #3273)
                                            The Bifferato Firm P.A.
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